                     IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                             CHARLOTTE DIVISION
                              3:03-CR-200-GCM-CH-2

                                          )
UNITED STATES OF AMERICA,                 )
                        Plaintiff,        )
      v.                                  )     ORDER
                                          )
JOLLIETT KELLY , JR.                      )
                                          )
                        Defendant.        )
______________________________________________________________________________

               THIS MATTER is before the Court upon Defendant’s Motion for Request of

Transcript of Prior Proeedings filed on January 25, 2010. For the reasons stated below,

Defendant’s Motion is DENIED.

       The Court takes notice from the docket that Defendant’s case is closed and there is

nothing pending before the Court. Further, this Court denied and dismissed Defendant’s Motion

to Vacate pursuant to 28 U.S.C. §2255 on December 20, 2007. Thereafter, his appeal of that

decision to the United States Court of Appeals for the Fourth Circuit was denied on December

28, 2009. In order for the Defendant to bring a successive Motion to Vacate pursuant to 28

U.S.C. §2255 he must receive permission from the Fourth Circuit. As he has not done so, his

Motion for Request of Transcript of Prior Proceedings is denied to the extent that he is requesting

the transcripts in order to file a second Motion to Vacate. SO ORDERED.

                                                Signed: January 25, 2010




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